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 8                         UNITED STATES DISTRICT COURT

 9                       NORTHERN DISTRICT OF CALIFORNIA

10                             SAN FRANCISCO DIVISION

11   IN RE GOOGLE PLAY DEVELOPER               Case No. 3:20-CV-05792-JD
     ANTITRUST LITIGATION
12                                             [PROPOSED] ORDER MODIFYING
                                               DEADLINES RELATING TO
13                                             DEVELOPER PLAINTIFF
                                               SETTLEMENT
14
                                               Hon. James Donato
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 1           The Court, having considered Developer Plaintiffs’ Administrative Motion to Modify

 2   Deadlines Relating to Developer Plaintiff Settlement (“Motion”), and all papers filed in support

 3   thereof and opposition thereto, and good cause appearing, hereby GRANTS the Motion and

 4   ORDERS that:

 5           1.     The deadline for class members to submit any objections to Developer Plaintiffs’

 6   Motion for Attorneys’ Fees, Reimbursement of Expenses and Service Awards (“Fee and Cost

 7   Motion”) shall be extended from April 5, 2023 to May 8, 2023.

 8           2.     In the event objections to the Fee and Cost Motion are submitted after Developer

 9   Plaintiffs move for final approval on May 3, 2023, Developer Plaintiffs may address those

10   objections in a supplemental brief, not to exceed ten pages, to be submitted on or before May 12,

11   2023.

12           3.     Class Counsel shall direct the Settlement Administrator to post this Order on the

13   Settlement Website.

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             IT IS SO ORDERED.
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     DATED: ________________
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                                                 HONORABLE JAMES DONATO
19                                               UNITED STATES DISTRICT JUDGE
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